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               EXHIBIT 1
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          Not For Private Gain
                         An Open Letter




                            April 2025
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               The Honorable Robert Bonta                               The Honorable Kathleen Jennings
               Attorney General of California                           Attorney General of Delaware
               California Department of Justice                         Delaware Department of Justice
               Attn: Public Inquiry Unit                                Carvel State Building
               P.O. Box 944255                                          820 N. French St.
               Sacramento, CA 94244-2550                                Wilmington, DE 19801



               RE: OpenAI’s Proposed Corporate Restructuring

               Dear Attorneys General Bonta and Jennings:

               We are experts in law, corporate governance, and arti cial intelligence;
               representatives of nonpro t organizations; and former OpenAI employees.

               We write in opposition to OpenAI’s proposed restructuring that would transfer
               control of the development and deployment of arti cial general intelligence (AGI)
               from a nonpro t charity to a for-pro t enterprise. The heart of this matter is
               whether the proposed restructuring advances or threatens OpenAI’s charitable
               purpose. OpenAI is trying to build AGI, but building AGI is not its mission. As
               stated in its Articles of Incorporation, OpenAI’s charitable purpose is “to ensure
               that arti cial general intelligence bene ts all of humanity” rather than advancing
               “the private gain of any person.”1

               OpenAI has a bespoke legal structure based on nonpro t control. This structure
               is designed to harness market forces without allowing those forces to overwhelm
               its charitable purpose.2 Nonpro t control over how AGI is developed and
               governed is so important to OpenAI’s mission that removing control would violate


               1 OpenAI, Amended Articles of Incorporation (Apr. 23, 2020). See also Defendants’
               Counterclaims, Answer, and Defenses, Musk v. Altman, No. 4:24-cv-04722-YGR (N.D. Cal. Apr.
               9, 2025) (“Since its founding as an AI research lab in December 2015, OpenAI has had one
               mission: to ensure that arti cial intelligence with the ability to outperform humans—arti cial
               general intelligence, or ‘AGI’—bene ts all humanity.”).
               2 Our position is not that it is impossible in principle for a commercial enterprise to build AGI
               responsibly. But OpenAI committed to holding itself to a higher standard in its Articles of
               Incorporation and public statements. It has repeatedly bene ted from its charitable structure, and
               it should not be allowed to discard this structure under the very sort of pressure it was
               implemented to address. See Motion for Leave to File Amici Curiae Brief in Support of Plaintiffs’
               Oppositions to Defendants’ Motions to Dismiss, Musk v. Altman, No. 4:24-cv-04722-YGR (N.D.
               Cal. led Apr. 11, 2025).


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          the special duciary duty owed to the nonpro t’s bene ciaries and “pose[] a
          palpable and identi able threat” to the nonpro t’s charitable purpose.3 It “would
          be contrary to the Certi cate [of Incorporation] and hence ultra vires.”4

          The restructuring would also undermine your ability to protect OpenAI’s
          bene ciaries: the public (including the people of California and Delaware). As the
          primary regulators of OpenAI, you currently have the power to protect OpenAI’s
          charitable purpose on behalf of its bene ciaries, safeguarding the public interest
          at a potentially pivotal moment in the development of this technology. Under
          OpenAI’s proposed restructuring, that would no longer be the case.

          To preserve your power to protect the public, we urge you to:

                 1. Demand answers to fundamental questions. OpenAI has not publicly
                    explained how its proposed restructuring will advance the nonpro t’s
                    charitable purpose of safely developing AGI for the bene t of humanity.
                    Nor has it provided adequate explanations for why the governance
                    safeguards that Mr. Altman testi ed to Congress were important to
                    OpenAI’s mission as recently as 2023 became obstacles to its mission in
                    2024.

                 2. Protect the charitable trust and purpose by ensuring the nonpro t
                    retains control. We request that you stop the restructuring and protect
                    the governance safeguards—including nonpro t control—that OpenAI
                    leadership have insisted are important to “ensure[] it remains focused on
                    [its] long-term mission.”5




          3 Oberly v. Kirby, 592 A.2d 445, 462 (Del. 1991) (“[B]ecause the Foundation was created for a
          limited charitable purpose rather than a generalized business purpose, those who control it have
          a special duty to advance its charitable goals and protect its assets.”).
          4 Id.

          5 Oversight of A.I.: Rules for Arti cial Intelligence: Hearing Before the Subcomm. on Priv., Tech.,
          & the Law of the S. Comm. on the Judiciary, 118th Cong. (2023), available at https://
          www.judiciary.senate.gov/imo/media/doc/2023-05-16%20-%20Bio%20&%20Testimony%20-
          %20Altman.pdf (statement of Sam Altman, Chief Executive Of cer, OpenAI).


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                     I. Understanding OpenAI’s charitable purpose: Why
                        nonpro t control protects the mission

                        That’s why we’re a nonpro t: we don’t ever want to be making
                        decisions to bene t shareholders. The only people we want to be
                        accountable to is humanity as a whole.
                                                          Sam Altman, 20176

               OpenAI’s purpose, as stated in its Articles of Incorporation, is “to ensure that
               arti cial general intelligence bene ts all of humanity” rather than advancing “the
               private gain of any person.”7 Directly building AGI is one part of how OpenAI has
               decided to pursue its mission, but under its Articles of Incorporation, any desire to
               build AGI must be subordinate to the actual charitable purpose. As OpenAI’s
               President Greg Brockman put it:

                        The true mission isn’t for OpenAI to build AGI. The true mission is for AGI
                        to go well for humanity . . . our goal isn’t to be the ones to build it, our goal
                        is to make sure it goes well for the world.8

               OpenAI should be held to the plain text of its Articles of Incorporation. Even if
               OpenAI’s Articles of Incorporation were ambiguous, ample evidence supports the
               plain reading of the text.9 OpenAI’s founders believed the public would be
               harmed if AGI were developed by a commercial entity with proprietary pro t
               motives.10 They therefore founded OpenAI as a nonpro t, with a legally
               enforceable duty to favor the interests of the public over investors, to carefully
               restrict and control such proprietary interests.

               6 Mosaic Ventures, Mosaic Ventures in conversation with Y Combinator President, Sam Altman,
               YOUTUBE (Mar. 28, 2017), https://youtu.be/nLMZothlRNM?feature=shared&t=1458 (at 24:18).
               7 OpenAI, Amended Articles of Incorporation ( led Apr. 23, 2020).

               8 Lex Fridman Podcast, Greg Brockman: OpenAI and AGI (Apr. 3, 2019) https://youtu.be/
               bIrEM2FbOLU?feature=shared&t=1898 (at 31:38).
               9 Delaware and California courts apply contract principles to interpret articles of incorporation,
               including a nonpro t's charitable purpose. See Gunderson v. Trade Desk, Inc., 326 A.3d 1264,
               1273 (Del. Ch. 2024), as corrected (Nov. 8, 2024); Wong v. Restoration Robotics, Inc., 78 Cal.
               App. 5th 48, 61 (Cal. Ct. App. 2022). In California, courts consider extrinsic evidence if it is
               relevant to prove a meaning to which the contract language is reasonably susceptible. Pac. Gas
               & E. Co. v. G.W. Thomas Drayage & Rigging Co., 69 Cal.2d 33, 37 (1968). In Delaware, unless
               the terms of the articles of incorporation are ambiguous, Delaware courts will give effect to their
               plain meaning. Salama v. Simon, 328 A.3d 356, 366 (Del. Ch. 2024). If the terms are ambiguous,
               the courts will consider extrinsic evidence. Id.
               10 See Sections I.B and I.C, infra.



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     OpenAI’s Charter, which states the “principles [OpenAI] use[s] to execute on [its]
     mission,” describes the subordination of competitive and nancial goals to its
     charitable purpose:

              OpenAI’s mission is to ensure that arti cial general intelligence
              (AGI)—by which we mean highly autonomous systems that
              outperform humans at most economically valuable work—bene ts
              all of humanity. We will attempt to directly build safe and bene cial
              AGI, but will also consider our mission ful lled if our work aids
              others to achieve this outcome.11

     In 2019, when OpenAI believed it needed more capital than it could raise in
     donations, it adopted a new structure: its nonpro t would control a for-pro t
     entity, with additional governance safeguards to ensure the primacy of its
     charitable mission. It is these governance safeguards—including the nonpro t’s
     critical control rights over the for-pro t—that are now at stake.


            A. What OpenAI means by “AGI”

              The problem with AGI speci cally is that if we’re successful, and we
              tried, maybe we could capture the light cone of all future value in
              the universe. And that is for sure not okay for one group of
              investors to have.
                                               Sam Altman, 202012

     OpenAI de nes arti cial general intelligence (AGI) as “a highly autonomous
     system that outperforms humans at most economically valuable work.”13
     OpenAI’s leadership believes that AGI has the potential to “elevate humanity”:

              If AGI is successfully created, this technology could help us elevate
              humanity by increasing abundance, turbocharging the global economy,




     11 OpenAI, OpenAI Charter.

     12 Connie Loizos, Sam Altman in Conversation with StrictlyVC, YOUTUBE (May 18, 2019), https://
     www.youtube.com/watch?v=TzcJlKg2Rc0&t=2734s (at 45:34).
     13 Our Structure, OPENAI (updated June 28, 2023), https://web.archive.org/web/
     20230729203855/https://openai.com/our-structure.


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                              and aiding in the discovery of new scienti c knowledge that changes the
                              limits of possibility.14

                    They also expect it will generate “unprecedented economic bene ts”15 and “close
                    to in nite wealth.”16 And the organization that builds it could create “orders of
                    magnitude more value than any existing company.”17

                    On the other hand, OpenAI warns that “AGI would also come with serious risk of
                    misuse, drastic accidents, and societal disruption.”18 Its website states that a
                    “misaligned superintelligent AGI could cause grievous harm to the world.”19 Mr.
                    Altman and senior OpenAI employees joined hundreds of others, including recent
                    Nobel Prize winner and AI pioneer Geoffrey Hinton, in signing a statement that
                    “[m]itigating the risk of extinction from AI should be a global priority alongside
                    other societal-scale risks such as pandemics and nuclear war.”20

                    OpenAI now believes AGI—both the positive potential and the inherent risks—
                    might be on the horizon. Mr. Altman has said: “We are now con dent we know
                    how to build AGI as we have traditionally understood it”21 and that “AGI will
                    probably get developed during this president’s term.”22 A few months ago, Mr.
                    Altman was quoted as saying “that on cybersecurity and bio stuff, we’ll see
                    serious, or potentially serious, short-term issues that need mitigation.”23


                    14 Planning for AGI and beyond, OPENAI (Feb. 24, 2023), https://openai.com/index/planning-for-
                    agi-and-beyond/.
                    15 Arti cial Intelligence: With Great Power Comes Great Responsibility: Joint Hearing Before the
                    Subcomm. on Research & Tech. and the Subcomm. on Energy of the H. Comm. on Sci., Space &
                    Tech., 115th Cong. 2 (2018), https://www.govinfo.gov/content/pkg/CHRG-115hhrg30877/pdf/
                    CHRG-115hhrg30877.pdf.
                    16 Guy Raz, HIBT Lab! OpenAI: Sam Altman, How I Built This with Guy Raz (Wondery Sept. 29,
                    2022), https://podcasts.apple.com/us/podcast/hibt-lab-openai-sam-altman/id1150510297?
                    i=1000580232536.
                    17Lex Fridman Podcast, Greg Brockman: OpenAI and AGI (April 3, 2019) https://
                    www.youtube.com/watch?v=bIrEM2FbOLU&pp=0gcJCdgAo7VqN5tD (at 27:55).
                    18 Planning for AGI and beyond, OPENAI (Feb. 24, 2023), https://openai.com/index/planning-for-
                    agi-and-beyond/.
                    19 Id.

                    20 Statement on AI risk, Center for AI Safety, https://www.safe.ai/work/statement-on-ai-risk#open-
                    letter.
                    21 Sam Altman, Re ections, SAM ALTMAN BLOG (Jan. 5, 2025), https://blog.samaltman.com/
                    re ections.
                    22Josh Tyrangiel, Sam Altman on ChatGPT’s First Two Years, Elon Musk and AI Under Trump,
                    BLOOMBERG BUSINESSWEEK (Jan. 6, 2025), https://www.bloomberg.com/features/2025-sam-
                    altman-interview/.
                    23 Id.



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                          B. OpenAI’s founding: An attempt to solve the problem of
                             pro t-driven AGI development

                             Been thinking a lot about whether it’s possible to stop humanity
                             from developing AI. I think the answer is almost de nitely not. If it’s
                             going to happen anyway, it seems like it would be good for
                             someone other than Google to do it rst. Any thoughts on whether it
                             would be good for YC to start a Manhattan Project for AI? My sense
                             is we could get many of the top ~50 to work on it, and we could
                             structure it so that the tech belongs to the world via some sort of
                             nonpro t but the people working on it get startup-like compensation
                             if it works. Obviously we’d comply with/aggressively support all
                             regulation.
                                                                Sam Altman, 201524

                    In 2015, OpenAI founders Sam Altman, Elon Musk, and Greg Brockman were
                    deeply concerned about the trajectory of arti cial intelligence. DeepMind, which
                    Google acquired as a subsidiary, was the leading AI company and the only major
                    company explicitly trying to build AGI. The founders expressed the view that
                    Google, a commercial entity whose ultimate responsibility is to shareholders,
                    must not be the institution that builds what might be the most powerful
                    technology ever created.25

                    OpenAI was founded against this backdrop. Its founding announcement states:

                             Our goal is to advance digital intelligence in the way that is most
                             likely to bene t humanity as a whole, unconstrained by a need to
                             generate nancial return. Since our research is free from nancial
                             obligations, we can better focus on a positive human impact.26

                    To achieve its mission while avoiding becoming either another pro t-driven
                    Google competitor or an academic safety lab without direct in uence over
                    cutting-edge AI, OpenAI adopted a two-pronged strategy:



                    24 Amended Complaint, Ex. 1, Musk v. Altman et al., No. 4:24-cv-04722-YGR (N.D. Cal. Nov. 14,
                    2024), ECF No. 32-2 (containing an email from Sam Altman dated May 25, 2015).
                    25 See, e.g., Id. (“If it's going to happen anyway, it seems like it would be good for someone other
                    than Google to do it rst.”).
                    26 Introducing OpenAI, OPENAI (Dec. 11, 2015), https://openai.com/index/introducing-openai/.



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                   1. Try to build AGI. Like Google, OpenAI would strive to be on the cutting
                      edge of AI research and development. Directly building AGI advances the
                      mission because no one is better placed to ensure AGI is built safely and
                      for the bene t of humanity than the organization building it. As the OpenAI
                      Charter states: “To be effective at addressing AGI’s impact on society,
                      OpenAI must be on the cutting edge of AI capabilities—policy and safety
                      advocacy alone would be insuf cient.”27

                   2. But the mission comes rst. The goal of building AGI also leads to
                      foreseeable con icts with the mission, when the proprietary interests of
                      investors diverge from the interests of humanity. To ensure their drive to
                      compete in the race to build AGI would never undermine their mission,
                      they incorporated as a nonpro t and made their goal of building AGI
                      legally and structurally subordinate to the mission.

               OpenAI’s Charter acknowledges the potential for con icts between pecuniary
               goals and charitable mission, and it explicitly reinforces the primacy of the
               mission:

                             Our primary duciary duty is to humanity. We anticipate needing to
                             marshal substantial resources to ful ll our mission, but will always
                             diligently act to minimize con icts of interest among our employees
                             and stakeholders that could compromise broad bene t.28

               Indeed, the Charter’s stop-and-assist clause articulates a speci c scenario in
               which racing to build AGI would undermine the mission, and it commits OpenAI
               to stop trying to build AGI under these circumstances:

                             We are concerned about late-stage AGI development becoming a
                             competitive race without time for adequate safety precautions.
                             Therefore, if a value-aligned, safety-conscious project comes close
                             to building AGI before we do, we commit to stop competing with
                             and start assisting this project.29




               27 OpenAI, OpenAI Charter.
               28 Id.

               29 Id.



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               As a nonpro t, OpenAI raised $130.5 million from donors who believed in its
               mission.30

                          C. 2019 restructuring: The importance of its governance
                             safeguards
                                We had tried and failed enough to raise the money as a nonpro t;
                                we didn’t see a path forward there. So we needed some of the
                                bene ts of capitalism, but not too much. I remember at the time
                                someone said: ‘As a nonpro t, not enough will happen; as a for-
                                pro t, too much will happen’. So we need this sort of strange
                                intermediate.
                                                                 Sam Altman, 202331

               In 2019, OpenAI decided it needed to raise equity capital in addition to the
               donations and debt capital it could raise as a nonpro t nonstock corporation. To
               do this while preserving the primacy of its mission, it established a controlled, for-
               pro t subsidiary of the nonpro t corporation. Through the controlled subsidiary
               (which we refer to here as “OpenAI-pro t”), it would raise capital from investors
               seeking to make a return. The new for-pro t entity would, however, be a
               subsidiary of the original nonpro t (which we refer to here as “OpenAI-nonpro t”),
               which would retain its duciary duty to advance the charitable purpose above all
               else.

               The structure was carefully selected to manage the con ict between the interests
               of investors and the charitable purpose. OpenAI’s announcement of the change
               discusses its motivations plainly: First, the formation of the subsidiary was
               motivated by a need for capital. As the announcement states:

                                We’ve experience rsthan that the most dramatic AI systems use
                                the most computational powe in addition to algorithmic
                                innovations, and decided to scale much faster than we’d planned
                                when starting OpenAI. We’ll need to invest billions of dollars in
                                upcoming years into large-scale cloud compute, attracting and
                                retaining talented people, and building AI supercomputers.32


               30 Our Structure, OPENAI (updated June 28, 2023), https://web.archive.org/web/
               20230729203855/https://openai.com/our-structure.
               31 Lex Fridman Podcast, Sam Altman: OpenAI CEO on GPT-4, ChatGPT, and the Future of AI
               (Mar. 25, 2023), https://www.youtube.com/watch?v=L_Guz73e6fw&t=4481s (at 1:14:41).
               32 OpenAI LP, OPENAI (Mar. 11, 2019), https://openai.com/index/openai-lp/.



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          Second, the mission must still come rst despite the need to raise this capital:

                  We’ve designed OpenAI LP to put our overall mission—ensuring
                  the creation and adoption of safe and bene cial AGI—ahead of
                  generating returns for investors . . . . Regardless of how the world
                  evolves, we are committed—legally and personally—to our
                  mission.33

          As the statement above shows, OpenAI foresaw that it might be tempted to
          prioritize investor returns over its mission and sought to bind itself to the mast—
          committing to the mission “regardless of how the world evolves.” As OpenAI
          explained in the preamble to this announcement, its new structure “allows us to
          rapidly increase our investments in compute and talent while including checks
          and balances to actualize our mission.”34

          The announcement enumerates the speci c “checks and balances” OpenAI
          believed were important to its mission:

          1. Nonpro t control. The new company (OpenAI-pro t) “is controlled by OpenAI
          Nonpro t’s board.”35




               Image source: OpenAI LP, OPENAI (Mar. 11, 2019), https://openai.com/index/openai-lp/.




          33 Id (emphasis added).

          34 Id (emphasis added). When OpenAI’s president, Greg Brockman, was asked in 2019 why
          OpenAI did not incorporate as a public bene t corporation, he responded: “We needed to custom-
          write rules like: Fiduciary duty to the charter - Capped returns - Full control to OpenAI Nonpro t.”
          Greg Brockman (@gdb), HACKER NEWS (Mar. 11, 2019), https://news.ycombinator.com/item?
          id=19359928.
          35 OpenAI LP, OPENAI (Mar. 11, 2019), https://openai.com/index/openai-lp/.



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          This was not just a formality. “All investors and employees sign agreements that
          OpenAI LP’s obligation to the Charter always comes rst, even at the expense of
          some or all of their nancial stake.”36




                          Image source: OpenAI LP, OPENAI (Mar. 11, 2019), https://openai.com/index/openai-lp/.


          2. Capped investor pro ts. Potential pro ts for investors in OpenAI-pro t are
          capped, with any returns above the cap going to OpenAI-nonpro t. The capped-
          pro t structure was designed to strike a balance between the ability to raise
          capital and ensuring that the vast majority of the expected value of AGI accrues
          to OpenAI-nonpro t and its public interest mission.37

                             The fundamental idea of OpenAI LP is that investors and
                             employees can get a capped return if we succeed at our mission,
                             which allows us to raise investment capital and attract employees
                             with startup-like equity. But any returns beyond that amount—and if
                             we are successful, we expect to generate orders of magnitude
                             more value than we’d owe to people who invest in or work at
                             OpenAI LP—are owned by the original OpenAI Nonpro t entity. . . .
                             Our goal is to ensure that most of the value (monetary or otherwise)
                             we create if successful bene ts everyone, so we think this is an
                             important rst step.38

          3. Independent Board. Con icts of interest on the nonpro t board should
          be avoided:

          36 Id.

          37 Tomio Geron, Nonpro t AI Lab Alters Structure to Build Massive Computing Power, WALL ST. J.
          (Mar. 11, 2019), https://www.wsj.com/articles/nonpro t-ai-lab-alters-structure-to-build-massive-
          computing-power-11552352064.
          38 OpenAI LP, OPENAI, (Mar. 11, 2019), https://openai.com/index/openai-lp (emphasis added).



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                                   Only a minority of board members are allowed to hold nancial
                                   stakes in the partnership at one time. Furthermore, only board
                                   members without such stakes can vote on decisions where the
                                   interests of limited partners and OpenAI Nonpro t’s mission may
                                   con ict—including any decisions about making payouts to investors
                                   and employees.39

                     As Mr. Altman testi ed before Congress in May 2023, OpenAI’s “unusual
                     structure” “ensures it remains focused on [its] long-term mission.”40 Mr. Altman
                     then enumerated the following governance safeguards:

                            ● Nonpro t control. “First, the principal entity in our structure is our
                              Nonpro t, which is a 501(c)(3) public charity. Second, our for-pro t
                              operations are subject to pro t caps and under a subsidiary that is fully
                              controlled by the Nonpro t.”41

                            ● Legal duty to put the charitable purpose rst. “Third, because the
                              board serves the Nonpro t, each director must perform their duciary
                              duties in furtherance of its mission—safe AGI that is broadly bene cial.
                              While the for-pro t subsidiary is permitted to make and distribute pro t, it
                              is subject to this mission. The Nonpro t’s principal bene ciary is humanity,
                              not OpenAI investors.”42

                            ● Independent board. “Fourth, the board remains majority independent.
                              Independent directors do not hold equity in OpenAI.”43

                            ● Pro t caps. “Fifth, pro t for investors and employees is capped by binding
                              legal commitments. The Nonpro t retains all residual value for the bene t
                              of humanity.”44




                     39 Id.

                     40 Oversight of A.I.: Rules for Arti cial Intelligence: Hearing Before the Subcomm. on Priv., Tech.,
                     & the Law of the S. Comm. on the Judiciary, 118th Cong. (2023), available at https://
                     www.judiciary.senate.gov/imo/media/doc/2023-05-16%20-%20Bio%20&%20Testimony%20-
                     %20Altman.pdf (statement of Sam Altman, Chief Executive Of cer, OpenAI).
                     41 Id.

                     42 Id.
                     43 Id.

                     44 Id.



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                              ● Ownership of AGI. “AGI technologies are explicitly reserved for the
                                Nonpro t to govern.”45

                         These safeguards are now in jeopardy under the proposed restructuring.


                           II. The proposed restructuring would subvert
                               OpenAI’s charitable purpose

                                  We did not expect massive scale to be as important as it turned out
                                  to be. By 2019, we realized that, and that the amount of money we
                                  were going to need to succeed at the mission was beyond what we
                                  could raise as a non-pro t. . . . We wanted to preserve as much as
                                  we could of the specialness of the nonpro t approach, the bene t
                                  sharing, the governance, what I consider maybe to be most
                                  important of all, which is the safety features and incentives.
                                                                        Sam Altman, 202246

                         OpenAI recently announced that it intends to restructure again, purportedly to
                         satisfy investor demands to simplify the capital structure.47 Under this new
                         proposed restructuring, OpenAI-pro t would transform into a Delaware public
                         bene t corporation (which we refer to here as “OpenAI-PBC”). OpenAI-PBC
                         would then “run and control OpenAI’s operations and business, while the non-
                         pro t will hire a leadership team and staff to pursue charitable initiatives in
                         sectors such as health care, education, and science.”48 OpenAI-nonpro t’s
                         “signi cant interest in the existing for-pro t would take the form of shares in the
                         PBC.”49

                         By removing nonpro t control, the proposed restructuring would eliminate most, if
                         not all, of the governance safeguards that OpenAI has insisted are important to
                         its charitable purpose. And no amount of money would advance OpenAI-


                         45 Id.

                         46 Guy Raz, HIBT Lab! OpenAI: Sam Altman, How I Built This with Guy Raz (Wondery Sept. 29,
                         2022), https://podcasts.apple.com/us/podcast/hibt-lab-openai-sam-altman/id1150510297?
                         i=1000580232536 (at 35:16).
                         47 Defendants’ Counterclaims, Answer, and Defenses, Musk v. Altman, No. 4:24-cv-04722-YGR
                         (N.D. Cal. led Apr. 9, 2025).
                         48 Why OpenAI’s Structure Must Evolve to Advance Our Mission, OPENAI (Dec. 27, 2024), https://
                         openai.com/index/why-our-structure-must-evolve-to-advance-our-mission/.
                         49 Id.



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                              nonpro t’s charitable purpose more than control over one of the world’s leading
                              AI companies.


                                  A. The restructuring would remove nonpro t control and
                                     eliminate critical governance safeguards

                                        On the ethical front, that’s really core to my organization. That’s the
                                        reason we exist . . . when it comes to the bene ts of who owns this
                                        technology? Who gets it? You know, where did the dollars go? We
                                        think it belongs to everyone.
                                                                         Greg Brockman, 201850

                              The restructuring would profoundly change the duties owed by the organization
                              controlling the development and deployment of OpenAI’s technology. Its
                              incentives would shift from (i) an enforceable duty owed to the public to ensure
                              AGI is safe and bene ts all of humanity, even if it means no pro ts are ever
                              made, to (ii) no duciary duty at all to the public, with an enforceable requirement
                              to consider pro t-making to enhance shareholder value.51 All of the governance
                              safeguards that Mr. Altman claimed “ensure [OpenAI] remains focused on [its]
                              long-term mission”52 would be in jeopardy. See Table 1.


                                        Governance Safeguards                           Today       Proposed
                                                                                                    Restructuring
                                        1. Pro t motives are subordinate to             Yes         No
                                        charitable purpose



                              50 Arti cial Intelligence: With Great Power Comes Great Responsibility: Joint Hearing Before the
                              Subcomm. on Research & Tech. and the Subcomm. on Energy of the H. Comm. on Sci., Space &
                              Tech., 115th Cong. 17 (2018), https://www.govinfo.gov/content/pkg/CHRG-115hhrg30877/pdf/
                              CHRG-115hhrg30877.pdf.
                              51 The capped-pro t structure of the controlled subsidiary was designed to avoid precisely this
                              situation. As Mr. Altman himself stated in a 2021 interview with Ezra Klein, “One of the incentives
                              that we were very nervous about was the incentive for unlimited pro t, where more is always
                              better” because “with these very powerful general purpose A.I. systems, in particular, you do not
                              want an incentive to maximize pro t inde nitely.” Ezra Klein Show, Sam Altman on the A.I.
                              Revolution, Trillionaires and the Future of Political Power, N.Y. TIMES (June 11, 2021), https://
                              www.nytimes.com/2021/06/11/podcasts/transcript-ezra-klein-interviews-sam-altman.html.
                              52 Oversight of A.I.: Rules for Arti cial Intelligence: Hearing Before the Subcomm. on Priv., Tech.,
                              & the Law of the S. Comm. on the Judiciary, 118th Cong. (2023), available at https://
                              www.judiciary.senate.gov/imo/media/doc/2023-05-16%20-%20Bio%20&%20Testimony%20-
                              %20Altman.pdf (statement of Sam Altman, Chief Executive Of cer, OpenAI).


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                                            2. Leadership has a duciary duty to Yes                     No
                                            advance the charitable purpose,
                                            enforceable by the attorneys
                                            general
                                            3. Investor pro ts are capped, with            Yes          Rumored no
                                            above-cap pro ts owned by the
                                            nonpro t
                                            4. Majority independent board                  Yes          Unknown
                                            commitment
                                            5. AGI, when developed, belongs to             Yes          No by default
                                            the nonpro t for the bene t of
                                            humanity
                                            6. Stop-and-assist commitment from Yes                      Unknown
                                            Charter
                                                      Table 1. Governance safeguards at stake in proposed restructuring

                              1. Pro t motives no longer subordinate to the mission. OpenAI-nonpro t is
                              currently required to govern the organization in the interests of humanity, without
                              regard to whether OpenAI-pro t makes any money at all. “Any action that poses
                              a palpable and identi able threat to [its charitable] goals, or that jeopardizes its
                              assets would be contrary to the Certi cate [of Incorporation] and hence ultra
                              vires.”53 Even transactions approved by disinterested directors are “not legally
                              binding” if they “pose[] a clear threat to the charitable purpose or the assets of
                              the [nonpro t] corporation.”54

                              If control is transferred to OpenAI-PBC, the board governing the development
                              and deployment of OpenAI’s technology would be required to consider the
                              pecuniary interests of shareholders in making its decisions.55 And while OpenAI-
                              PBC could “balance” that consideration with a stated public bene t, its directors
                              would owe no duciary duties enforceable by or on behalf of the public bene t’s
                              bene ciaries.56

                              2. No legally enforceable duty to advance the charitable purpose. Under the
                              current structure, OpenAI-nonpro t’s directors owe a special duciary duty to the

                              53 Oberly, 592 A.2d at 462.

                              54 Id. at 468 n.17.
                              55 8 Del. C. § 365(a).

                              56 8 Del. C. § 365(b).



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                                        public as the bene ciaries of the organization’s charitable purpose.57 That duty
                                        itself is important, but equally important is its enforceability. Right now, each of
                                        you as the attorneys general of OpenAI’s state of incorporation and the location
                                        where its charitable assets are held have the power to protect OpenAI’s
                                        charitable purpose, including by enforcing the special duciary duty owed under
                                        Delaware law.58

                                        By shifting control to OpenAI-PBC, the proposed restructuring would divorce the
                                        development and deployment of AGI from any duty to the public enforceable by
                                        elected of cials. Instead, it would empower shareholders of OpenAI-PBC to sue
                                        its board derivatively on behalf of the company for failing to adequately consider
                                        the pro t motives of the shareholders.59 The only stakeholders with the power to
                                        sue to alter the balance between pecuniary interests and public bene t would
                                        then be shareholders with strong nancial incentives to tip that balance away
                                        from public bene t and toward maximizing returns.

                                        3. Pro ts above the current cap would reportedly go to investors. Today,
                                        investor pro ts are subject to a cap, with pro ts above the cap going to OpenAI-
                                        nonpro t for the bene t of humanity. OpenAI has not commented on whether it
                                        would attempt to approximate the existing capped-pro t structure under the
                                        proposed restructuring, but credible reports claim that recent investments were
                                        made contingent on the removal of the pro t cap.60 This may constitute a
                                        massive reallocation of wealth from humanity at large to OpenAI-PBC
                                        shareholders.

                                        4. No independent board commitment. Under the current structure, OpenAI
                                        has committed to a majority-independent board. OpenAI has not publicly
                                        commented on whether OpenAI-PBC would have a majority-independent board.
                                        There are con icting reports about whether Mr. Altman would receive an equity


                                        57 Oberly, 592 A.2d at 462 (“[B]ecause [OpenAI] was created for a limited charitable purpose
                                        rather than a generalized business purpose, those who control it have a special duty to advance
                                        its charitable goals and protect its assets.”).
                                        58 Id. at 468 (“Delaware law unambiguously places the burden of protecting the interests of
                                        bene ciaries upon the Attorney General.”). In California, the Attorney General holds the “primary
                                        responsibility for supervising charitable trusts in California, for ensuring compliance with trusts
                                        and articles of incorporation, and for protection of assets held by charitable trusts . . . .” Cal. Gov’t
                                        Code § 12598(a).
                                        59 8 Del. C. §§ 365(a), 367.
                                        60 Aditya Soni, Arsheeya Bajwa & Krystal Hu, OpenAI Outlines New For-pro t Structure in Bid to
                                        Stay Ahead in Costly AI Race, REUTERS (Dec. 27, 2024), https://www.reuters.com/technology/
                                        arti cial-intelligence/openai-lays-out-plan-shift-new-for-pro t-structure-2024-12-27/.


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                    stake in OpenAI-PBC, with Mr. Altman denying rumors he would receive a 7%
                    stake.61

                    5. AGI presumptively owned by investors. Separate from the question of who
                    is entitled to pro ts above the cap is the question of who would actually own and
                    control AGI technology. Under the current structure, when OpenAI builds AGI, it
                    would be controlled by OpenAI-nonpro t. OpenAI’s contract with key investor
                    Microsoft provides that Microsoft would have no right to AGI technologies.62 The
                    nonpro t would have the right and legal responsibility to use AGI in the manner
                    that most bene ts humanity,63 which could include providing subsidized access
                    or even transferring control to a governmental body. Although OpenAI has not
                    publicly commented on who would own AGI under the proposed restructuring, it
                    would presumably belong to OpenAI-PBC and its investors. Credible reporting
                    also claims that OpenAI and Microsoft have discussed removing the contractual
                    restriction on Microsoft’s access to AGI technologies.64

                    6. Stop-and-assist commitment. OpenAI has not publicly commented on
                    whether OpenAI-PBC would honor the commitments in the OpenAI Charter,
                    including the commitment to stop competing and assist a mission-aligned
                    company close to building AGI. Mr. Altman has, however, claimed that one of the
                    bene ts of its current structure—with nonpro t control—is that it allows them to
                    stop competing with and start assisting another organization.65 And even if
                    OpenAI-PBC announced that it intended to honor those commitments, it could
                    easily abandon them without a mission-aligned reason for doing so.




                    61 Sharon Goldman, Kali Hays & Verne Kopytoff, Why Investors Want Startup Founders to Own
                    Equity–Including OpenAI’s Sam Altman, FORTUNE (Sept. 30, 2024), https://fortune.com/
                    2024/09/30/sam-altman-openai-equity-stake-billionaire/.
                    62 Our Structure, OPENAI, https://openai.com/our-structure/.

                    63 OpenAI, Amended Articles of Incorporation ( led Apr. 23, 2020); Oberly, 592 A.2d at 462.

                    64 Cristina Criddle & George Hammond, OpenAI Seeks to Unlock Investment by Ditching “AGI”
                    Clause with Microsoft, FIN. TIMES (Dec. 6, 2024), https://www.ft.com/content/2c14b89c-
                    f363-4c2a-9dfc-13023b6bce65.
                    65 Lex Fridman Podcast, Sam Altman: OpenAI CEO on GPT-4, ChatGPT, and the Future of AI
                    (Mar. 25, 2023), https://youtu.be/L_Guz73e6fw?si=q7UinB9gDFlVDDBK&t=4440 (at 1:14:05).


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                   B. No sale price can compensate for loss of control

                          At OpenAI, when we wrote our charter, we talked about the
                          scenarios where we would or wouldn’t make money. And . . . the
                          things we wouldn’t be willing to do no matter how much money they
                          made. And we made this public so the public would hold us
                          accountable to that. And I think that’s really important.
                                                              Sam Altman, 201866

               Whether OpenAI-nonpro t receives fair market value for its controlling interest in
               OpenAI-pro t is not the core question. The core question is whether selling
               control advances or undermines OpenAI’s purpose. The law here is clear:
               “Although the public in general may bene t from any number of charitable
               purposes, charitable contributions must be used only for the purposes for which
               they were received in trust.”67

               No sale price could put OpenAI-nonpro t in a comparable position to realize its
               charitable purpose.68 While in principle nancial assets could be leveraged to
               obtain in uence over the development and governance of AGI, obtaining the
               degree of in uence OpenAI-nonpro t already possesses is no longer possible in
               practice.

               Further, OpenAI is not even claiming the proceeds of the sale would be used to
               ensure safe AGI bene ts all of humanity. Rather, OpenAI promises that the
               restructuring would create “one of the best resourced non-pro ts in history,” that
               would “pursue charitable initiatives in sectors such as health care, education, and
               science.”69 However bene cial such a foundation may be, it would not advance


               66 Kara Swisher, Should Mark Zuckerberg Fire Himself? , RECODE DECODE (Vox Media, Dec. 7,
               2018), https://www.vox.com/2018/12/10/18134926/sam-altman-kara-swisher-recode-decode-live-
               mannys-podcast-transcript-facebook-zuckerberg-ethics.
               67 Holt v. Coll. of Osteopathic Physicians & Surgeons, 394 P.2d 932, 935 (emphasis added); see
               also Queen of Angels Hosp. v. Younger, 66 Cal. App.3d 359, 369 (Cal. App. 2d Dist. 1977) (“The
               issue is not the desirability of the new use [of charitable assets],” but consistency with the
               charitable purpose).
               68 See, e.g., In re Milton Hershey School Trust, 807 A.2d 324 (Pa. Cmmw. Ct. 2002) as
               instructive. In that case, the Hershey charitable trust had a controlling interest in Hershey Foods,
               which it sought to sell. The Pennsylvania Attorney General sued to enjoin the sale. Noting the
               “symbiotic relationship” between the trust and the company, the court found that even a control
               premium would be inadequate. “How many trusts enjoy holding a controlling interest in one of this
               nation’s largest, historically pro table, and best-known corporations?” Id. at 334.
               69 Why OpenAI’s Structure Must Evolve to Advance Our Mission, OPENAI (Dec. 27, 2024), https://
               openai.com/index/why-our-structure-must-evolve-to-advance-our-mission/.


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                OpenAI’s speci c charitable purpose. Imagine a nonpro t with the mission of
                ensuring nuclear technology is developed safely and for the bene t of humanity
                selling its control over the Manhattan Project in 1943 to a for-pro t entity so the
                nonpro t could pursue other charitable initiatives.


                  III. OpenAI’s public explanations for the restructuring
                       are inadequate

                OpenAI’s public justi cations for its restructuring prioritize competitive advantage
                over its charitable purpose and fail to address how abandoning nonpro t control
                is compatible with the mission. While OpenAI’s current structure might have
                limitations, and competitive positioning might indirectly support its mission, any
                proposed solution must be tailored to address actual de ciencies without
                compromising core principles. OpenAI has not publicly demonstrated how the
                purported bene ts to its mission of restructuring outweigh the substantial risks of
                dismantling the very safeguards designed to keep OpenAI faithful to its mission.


                   A. Competitive advantage is not a suf cient justi cation

                The primary reason OpenAI cites for the restructuring is competitive advantage.
                As stated in a recent court ling:

                         OpenAI’s current structure poses challenges in attracting new
                         investment and retaining and attracting highly skilled personnel.
                         Every one of OpenAI’s signi cant competitors has a familiar
                         corporate structure that allows for offers of conventional equity—an
                         attraction not just for investors contemplating multi-billion-dollar
                         commitments but for current and prospective employees who want
                         a stake in the enterprise they’re helping to build.70

                Competitive advantage might be a relevant factor, but it is not a suf cient reason
                to restructure. OpenAI’s charitable purpose is not to make money or capture
                market share. Its “competitors” are not nonpro ts with a duty to the public.
                OpenAI’s structure, by design, comes with competitive costs. Attracting talent and
                remaining on the cutting-edge of AI development at best indirectly advances


                70 Defendants’ Counterclaims, Answer, and Defenses, Musk v. Altman, No. 4:24-cv-04722-YGR
                (N.D. Cal. led Apr. 9, 2025), ECF 147.


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     OpenAI’s mission of ensuring AGI bene ts all of humanity. Obtaining a
     competitive advantage by abandoning the very governance safeguards designed
     to ensure OpenAI remains true to its mission is unlikely to, on balance, advance
     the mission.

     OpenAI might respond that a competitive advantage inherently advances its
     mission, but that argument is an implicit comparison of OpenAI and its
     competitors: that humanity would be better off if OpenAI builds AGI before
     competing companies. Based on OpenAI’s recent track record, this argument is
     unlikely to be convincing:71

         •   OpenAI’s testing processes have reportedly become “less thorough with
             insuf cient time and resources dedicated to identifying and mitigating
             risks.”72
         •   It has rushed through safety testing to meet a product release schedule.73
         •   It reneged on its promise to dedicate 20% of its computing resources to
             the team tasked with ensuring AGI’s safety.74
         •   OpenAI and its leadership have publicly claimed to support AI regulation75
             while OpenAI privately lobbied against it.76
         •   Mr. Altman said that it might soon become important to reduce the global
             availability of computing resources77 while privately attempting to arrange




     71 One might take this list as evidence that the existing structure is ineffective. But the current
     structure provides an enforceable commitment to a charitable purpose with which to counter
     transgressions. If OpenAI pushes past what that commitment allows, the answer is not to remove
     the commitment or make it unenforceable; the answer is to enforce it.
     72 Cristina Criddle, OpenAI Slashes AI Model Safety Testing Time, FIN. TIMES (Apr. 11, 2025),
     https://www.ft.com/content/8253b66e-ade7-4d1f-993b-2d0779c7e7d8.
     73 Pranshu Verma, Nitasha Tiku & Cat Zakrzewski, OpenAI Promised to Make Its AI Safe.
     Employees Say It 'Failed' Its First Test, WASH. POST (July 12, 2024), https://
     www.washingtonpost.com/technology/2024/07/12/openai-ai-safety-regulation-gpt4/.
     74 Jeremy Kahn, Exclusive: OpenAI Promised 20% of Its Computing Power to Combat the Most
     Dangerous Kind of AI—but Never Delivered, Sources Say, FORTUNE (May 21, 2024), https://
     fortune.com/2024/05/21/openai-superalignment-20-compute-commitment-never-ful lled-
     sutskever-leike-altman-brockman-murati/.
     75 Cecilia Kang, How Sam Altman Stormed Washington to Set the A.I. Agenda, N.Y. TIMES (June
     7, 2023), https://www.nytimes.com/2023/06/07/technology/sam-altman-ai-regulations.html.
     76 Billy Perrigo, Exclusive: OpenAI Lobbied the E.U. to Water Down AI Regulation, TIME (June 20,
     2023), https://time.com/6288245/openai-eu-lobbying-ai-act/.
     77 Planning for AGI and beyond, OPENAI (Feb. 24, 2023), https://openai.com/index/planning-for-
     agi-and-beyond/.


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           trillions of dollars in computing infrastructure buildout with U.S.
           adversaries.78
       •   OpenAI coerced departing employees into extraordinarily restrictive non-
           disparagement agreements.79

What might make OpenAI the best choice for humanity? The most signi cant
differentiator between OpenAI and its competitors is that it is a nonpro t with a
duty to put humanity’s interests rst. But it is that very differentiator that the
proposed restructuring would strip away.

OpenAI might also respond that humanity is better off if OpenAI builds AGI
before a company based in China. OpenAI foreshadowed this argument in its
recent submission to the Of ce of Science & Technology Policy:

           As America’s world-leading AI sector approaches arti cial general
           intelligence (AGI), with a Chinese Communist Party (CCP)
           determined to overtake us by 2030, the Trump Administration’s new
           AI Action Plan can ensure that American-led AI built on democratic
           principles continues to prevail over CCP-built autocratic,
           authoritarian AI.80

But OpenAI is not America’s only organization at the AI frontier. To the extent
OpenAI believes that it is imperative to its mission for an American company to
build AGI before a Chinese company, the solution might not be to compete but to
assist. As a nonpro t, OpenAI could offer its resources—compute, talent, and IP
—to another American company or the U.S. government, which could do more to
advance American competitiveness than the proposed restructuring. Indeed, the
OpenAI Charter explicitly envisions a related scenario in which the mission would
be best served not by competing, but by assisting:




78 Keach Hagey & Asa Fitch, Sam Altman Seeks Trillions of Dollars to Reshape Business of
Chips and AI, WALL ST. J. (Feb. 8, 2024), https://www.wsj.com/tech/ai/sam-altman-seeks-trillions-
of-dollars-to-reshape-business-of-chips-and-ai-89ab3db0.
79 Kelsey Piper, ChatGPT Can Talk, but OpenAI Employees Sure Can’t, VOX (May 18, 2024),
https://www.vox.com/future-perfect/2024/5/17/24158478/openai-departures-sam-altman-
employees-chatgpt-release.
80 Public Letter from Christopher Lehane, OpenAI Vice President, Glob. Affs., to Faisal D’Souza,
Off. of Sci. & Tech. Pol'y (Mar. 13, 2025), https://tinyurl.com/ycy23ctm.


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                               [I]f a value-aligned, safety-conscious project comes close to
                               building AGI before we do, we commit to stop competing with and
                               start assisting this project.81

                     Furthermore, pro t incentives might actually cause OpenAI to hinder American
                     competitiveness by, for example, commercializing technology counter to
                     America’s national security interests. Nvidia is currently lobbying to reduce U.S.
                     export controls so that its technology can be more widely sold in China.82 A pro t-
                     driven OpenAI might act similarly.


                            B. OpenAI has not explained why removing nonpro t
                               control is necessary

                     To justify the restructuring, OpenAI primarily cites investor demands that it
                     “simplify its capital structure”, and refers speci cally to market unfamiliarity with
                     its pro t caps:

                               The pro t interests in OpenAI’s capped-pro t are less familiar
                               [compared to its competitors]. The challenges OpenAI faces are
                               re ected in its most recent fundraising rounds, in which investors
                               have insisted on conditions freeing them from certain funding
                               commitments or allowing redemption of invested funds with interest
                               in the event OpenAI fails to simplify its capital structure.83

                     OpenAI has not, however, explained the relationship between nonpro t control
                     and the pro t caps. Why removing nonpro t control is necessary to simplify its
                     capital structure is not self-evident.

                     OpenAI’s only public justi cation for removing nonpro t control is that nonpro t
                     control subordinates investor interests to the charitable mission. As OpenAI
                     explained in its restructuring announcement: “Our current structure does not
                     allow the board to directly consider the interests of those who would nance the



                     81 OpenAI, OpenAI Charter.

                     82 Sharon Goldman, Nvidia Lashes Out at Biden’s Last-minute Export Controls on AI Chips and
                     Rushes to Praise Trump, FORTUNE (Jan. 13, 2025), https://fortune.com/2025/01/13/nvidia-lashes-
                     out-at-biden-administration-sweeping-last-minute-export-controls-on-ai-chips/.
                     83 Defendants’ Counterclaims, Answer, and Defenses, Musk v. Altman, No. 4:24-cv-04722-YGR
                     (N.D. Cal. led Apr. 9, 2025).


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                mission.”84 By contrast, OpenAI-PBC would allegedly have “the exact same
                mission but also having accountability to investors and employees.”85 This
                argument fails because OpenAI’s board is already permitted to take investor and
                employee interests into account, provided doing so advances the charitable
                purpose. What the board cannot do is take those interests into account at the
                expense of OpenAI’s charitable purpose, and that appears to be what the
                proposed restructuring seeks to do.


                      C. The nonpro t might receive nothing for its loss of
                         control

                OpenAI does not adequately explain how the surviving nonpro t entity—stripped
                of any control over OpenAI-PBC—would be in a better position to advance its
                charitable purpose. It states:

                           Our plan would result in one of the best resourced non-pro ts in
                           history. The non-pro t’s signi cant interest in the existing for-pro t
                           would take the form of shares in the PBC at a fair valuation
                           determined by independent nancial advisors. This will multiply the
                           resources that our donors gave manyfold.86

                But as OpenAI explains, the sale would simply “exchange [OpenAI nonpro t’s]
                current economic interest in the capped-pro t entity for an equity stake in the
                PBC.”87 It is the value of its current economic interest in OpenAI-pro t that makes
                OpenAI-nonpro t “one of the best resourced non-pro ts in history,” not additional
                value the nonpro t would receive from the proposed restructuring. The
                transaction, as described, does not put any dollar value on the nonpro t’s control
                of one of the world’s leading AI companies, let alone try to justify how that
                unstated amount of money would better enable the nonpro t to achieve its
                mission. If OpenAI’s donors simply wanted a “manyfold” return that could be
                directed to generic charitable initiatives a decade later, they had far more direct
                ways of accomplishing that goal.

                84 Why OpenAI’s Structure Must Evolve to Advance Our Mission, OPENAI (Dec. 27, 2024), https://
                openai.com/index/why-our-structure-must-evolve-to-advance-our-mission/.
                85 Defendants’ Counterclaims, Answer, and Defenses, Musk v. Altman, No. 4:24-cv-04722-YGR (N.D.
                Cal. led Apr. 9, 2025), ECF 147.
                86 Why OpenAI’s Structure Must Evolve to Advance Our Mission, OPENAI (Dec. 27, 2024), https://
                openai.com/index/why-our-structure-must-evolve-to-advance-our-mission/.
                87 Defendants’ Counterclaims, Answer, and Defenses, Musk v. Altman, No. 4:24-cv-04722-YGR
                (N.D. Cal. led Apr. 9, 2025).


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               OpenAI offers ambitious plans for how the activities of the new nonpro t can
               bene t the public, “particularly within OpenAI’s home state of California.”88
               Putting aside whether those plans are consistent with OpenAI’s charitable
               purpose, we see no good reason why the cost of those activities must be
               OpenAI-nonpro t relinquishing control over OpenAI-pro t.89 OpenAI-nonpro t is
               currently free to pursue ambitious charitable initiatives—and has in fact made
               grants in the past90—but it should not be permitted to sell out its mission to do so.


                 IV. A proposed plan of action

               We respectfully request that you, Attorneys General Bonta and Jennings, take
               the following actions:

               1. Demand answers to fundamental questions

               OpenAI has not publicly provided answers to fundamental questions about the
               restructuring. We urge you to investigate the following questions:


                                               Rationale for Board’s decision

                1        Is removing nonpro t control the best way to advance OpenAI’s
                         charitable purpose, and if so, why? What analyses were done and what
                         alternatives were considered?




               88 New Commission to Provide Insight as OpenAI Builds the World’s Best-equipped Nonpro t, OPENAI
               (Apr. 2, 2025) https://openai.com/index/nonpro t-commission-guidance/.
               89 OpenAI claims that the current structure “does not enable the non-pro t to easily do more than control the
               for-pro t” but provides no explanation for why that is the case. See Why OpenAI’s Structure Must Evolve to
               Advance Our Mission, OPENAI (Dec. 27, 2024), https://openai.com/index/why-our-structure-must-
               evolve-to-advance-our-mission/.
               90 In their most recent reported scal year, OpenAI made over $2.5 million in grants. OpenAI, Inc. IRS
               Form 990, Part I, line 13 (FY2023) (reporting $2,641,712 in grants and similar amounts paid). In the 2020
                scal year, OpenAI made over $10 million in grants. OpenAI, Inc. IRS Form 990, Part I, line 13 (FY2020)
               (reporting $10,250,005 in grants and similar amounts paid).


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          2    In testimony before Congress in May 2023, Mr. Altman stated that
               OpenAI’s governance “ensures it remains focused on [its] long-term
               mission.” Many if not all of the safeguards he cited then would cease to
               exist under the proposed restructuring. What changed between May
               2023 and September 2024 such that the safeguards that were important
               to OpenAI’s mission became obstacles instead?
          3    Mr. Altman has said several times that being a for-pro t creates perverse
               incentives for organizations trying to build AGI. Is that not still the case,
               and if so, why not?
          4    What role has investor pressure had on the decision to restructure? Did
               the board formally approve a funding round that included investments
               conditioned on the restructuring? If so, what information was provided to
               inform its approval?

                            Involvement of interested directors

          5    Which of the current directors have participated in or are planning to
               participate in decisions regarding the proposed restructuring, which (if
               any) are not, and what potential con icts of interest does each have?
          6    Under the proposed restructuring, would any of the directors receive
               equity, additional equity, or other direct or indirect personal interests in
               OpenAI-PBC?

                          OpenAI’s proposed restructuring plan

          7    What would the governance structure be of OpenAI-PBC? Who would be
               on the board of the entity trying to build AGI?
          8    What structures would OpenAI-PBC have to guarantee its actions are
               consistent with the mission of ensuring that AGI is developed safely and
               for the bene t of all humanity? Speci cally, what safeguards will be in
               place to ensure that AI systems OpenAI-PBC releases are safe and that
               AGI’s bene ts are distributed to all of humanity, not preferentially to
               investors?
          9    If OpenAI-PBC takes actions that are clearly deleterious to humanity, who
               would have recourse?
          10   Would OpenAI-PBC recommit to the principles in the Charter, including
               the promise to stop competing with and assist a mission-aligned
               organization close to building AGI?


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                              11             Is it OpenAI’s position that other frontier AI companies are not mission
                                             aligned? Is it OpenAI’s position that humanity’s interests are in jeopardy if
                                             any of those companies build AGI before OpenAI does? If so, what is the
                                             justi cation for those positions?
                              12             Will new investors’ pro ts still be capped? Would the above-cap pro ts
                                             still go to OpenAI-nonpro t? Will past investors’ caps be removed? What
                                             value will the nonpro t receive in exchange for any changes to the pro t
                                             cap structure? Request all internal analyses about the expected value of
                                             pro ts above the cap.
                              13             If OpenAI builds AGI, who would own and control it? Would Microsoft
                                             have the same right to AGI IP that it has to the IP of OpenAI’s current AI
                                             systems?


                                                                   Table 2. Proposed questions

                              2. Protect the charitable trust and purpose by ensuring the
                              nonpro t retains control

                              Do not allow the restructuring to proceed as planned. We urge you to protect
                              OpenAI’s charitable purpose by preserving the core governance safeguards that
                              OpenAI and Mr. Altman have repeatedly claimed are important to its mission:

                                   1. The leadership of OpenAI—the entity trying to build AGI—should have a
                                       duciary duty to the mission: to ensure AGI is developed safely and for the
                                      bene t of humanity.

                                   2. All goals other than the mission—including pro ts and winning the race to
                                      AGI—should be subordinate to the mission.

                                   3. OpenAI’s duty to put mission rst must be legally enforceable by, at a
                                      minimum, the attorneys general, directors, and parties with a special
                                      interest in the matter.

                                   4. Investor pro ts should continue to be capped, and pro ts above the cap
                                      should be used exclusively and directly to bene t humanity.

                                   5. OpenAI should retain the commitment in its Charter to stop competing and
                                      start assisting a mission-aligned project that is close to building AGI.




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        6. AGI itself—if and when OpenAI creates it—should belong to the nonpro t
           entity, or a similar entity whose sole responsibility is to ensure it is used
           responsibly and for the bene t of humanity. It should not be owned or
           controlled by a commercial entity or its investors.

     Stopping the restructuring is not enough, however, as these governance
     safeguards were apparently not enough to prevent management from pushing to
     remove them. We also request that you ensure the board has the necessary
     independence, resources, information, and will to push back against
     management in furtherance of its duciary duties. Speci cally:

        •   Removal of directors. Any director found to have undermined the
            integrity of the board’s decision regarding the restructuring should be
            removed.

        •   Independence. A majority of the board should have no direct or indirect
            personal interests in OpenAI-pro t.

        •   Expertise. The board should have the expertise necessary to know when
            OpenAI-pro t is taking actions that are at odds with the mission.

        •   Resources. The board should have the staff and budget necessary to
            oversee the operations of an organization with thousands of employees
            and a valuation of $300 billion.

        •   Information. OpenAI should provide the board with routine and timely
            updates on any OpenAI activities that might be in con ict with its mission.
            Directors should receive prompt and detailed responses to any questions
            they ask of management.

        •   Oversight. We encourage you to oversee the implementation of these
            changes or appoint an independent body to oversee their implementation.
            Until these changes are made, any decision by the board should receive
            careful scrutiny.


                                     Conclusion
     OpenAI was founded to ensure AGI is developed safely and bene ts all of
     humanity. Its current structure, which legally subordinates pro t motives to this
     mission, is not incidental—it is fundamental to achieving this purpose. The
     proposed restructuring would eliminate essential safeguards, effectively handing


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control of, and pro ts from, what could be the most powerful technology ever
created to a for-pro t entity with legal duties to prioritize shareholder returns.

You have both the authority and duty to protect OpenAI’s charitable trust and
purpose. We urge you to halt this restructuring, restore proper governance, and
ensure OpenAI remains accountable to you, the public, and its charitable
purpose.

Respectfully submitted,

Page Hedley, OpenAI 2017-2018                Scott Aaronson, OpenAI 2022-2024
Sunny Gandhi, Encode AI                      Steven Adler, OpenAI 2020-2024
Tyler Whitmer, Legal Advocates for           Jacob Hilton, OpenAI 2018-2023
Safe Science and Technology                  Daniel Kokotajlo, OpenAI 2022-2024
                                             Ryan Lowe, OpenAI 2019-2024
Lucian Bebchuk, Harvard Law                  Gretchen Krueger, OpenAI
School                                       2019-2024
Anu Bradford, Columbia Law School            Girish Sastry, OpenAI 2019-2024
Samuel Brunson, Loyola University            Nisan Stiennon, OpenAI 2018-2020
Chicago School of Law                        Anish Tondwalkar, OpenAI
Michael Dorff, UCLA School of Law            2023-2024
Lawrence Lessig, Harvard Law
School                                       Center for Humane Technology
Oliver Hart, Harvard University (Nobel       The Tech Oversight Project
laureate)
Katharina Pistor, Columbia Law               Arturo Béjar, former leader for Protect
School                                       and Care, Facebook (2009-2015)
Marc Rotenberg, Georgetown Law               Jennifer Gibson, Psst.org
Joseph Stiglitz, Columbia University         Sam Hiner, Young People's Alliance
(Nobel laureate)                             Ed Howard, Children’s Advocacy
Kevin Werbach, The Wharton School,           Institute, University of San Diego
University of Pennsylvania                   School of Law
Luigi Zingales, University of Chicago        Joan F. Neal, NETWORK Lobby for
                                             Catholic Social Justice
Geoffrey Hinton, University of Toronto       Christabel Randolph, Center for AI
(Nobel laureate)                             and Digital Policy
Margaret Mitchell, Hugging Face              Jason Green-Lowe, Center for AI
Stuart Russell, University of                Policy
California, Berkeley                         Reed Schuler, Massachusetts
                                             Institute of Technology


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